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A 0 245B (Rev 06/05) Sheer 1 - Judgment in a Criminal Case


                            UNITED STATES DISTRICT COURT
                                                  MIDDLE DISTRICT OF FLORIDA
                                                       TAWPA DnJISION




UNITED STATES OF A h E R I C A                                  JUDGMENT IN A CEUMLNAL CASE

                                                                CASE NUMBER: 8:08-cr-l2-T-3OMSS
                                                                USM NUMBER: 49897-018



ALCY REMA COLORADO
                                                                DeTendanr's Attorney: Mark Rodriyez, cja.

THE DEFENDANT

X pleaded guilty to count(s) ONE of the [ndichncnt.
-
- pleaded nolo contendcre to count(s) which was accepted by the court
- !r as lound guilty on count(s) after a plea of nor guiliy.

 1.1 1i.L & SECTION                 NATURE OF OFFENSE                              OFFENSE ENDED                      COUNT

46 U.S.C. $9 70503(a) and           Conspiracy ro Possess With Lnteni ro      January 3.2008                            One
70506(a) and (b) and                Dislribute 5 Kilograms or More of Cocains
21 U.S.C. g 960(b)(l)(B)(u)         W i l e Aboard a Vessel Subject to rhe
                                    Junsdichon of the United Stares


         The defendant is sentenced as provided in page.; 2 though6 orthis jud=pent. The sentence is imposed pursuan~10h e Senlencing
Reform Act of 1984.

- ThC defmclanr has bzen found nor gull@ on count(s)
Y C ~ ~ i 1l t t ~0 of the Indictment IS d~smissedon the mot~onof the Uruted States
-
1.1 15 i - L K 1 HER ORDERED h a t thc defendant must noti@ the United States Atromcy for this district {virhin 30 days of any change of
name, res~dence,or mailing address until all fines. restitution: costs, and special assessments imposed by d ~ i judgment
                                                                                                                 s        are fully p a d .
If ordered to pay restitution, the ddendant musr notify rhe court and United Stares Attorney of any material change in economic
circumstances.


                                                                                   Date of lnlposition of Ssnknce: May 22, 2008




                                                                                   DATE: May       93 0 0 8
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A 0 245B (Rev 06105) Sh& 2 - Imprisonment (Judgment in a Criminal Cast)
Defendant:          ALCY REMA COLORADO                                                                    Judgment - Page 2 of
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                                                             IMPRISONMENT

        Aftcr considering the ndvisory sentencing guidelines and aU of the fnctors identified in Titlc 18 U.S.C. §Ej
35S?(a)(l)-(7), t h e court fods that the sentence imposed is sufficient, h u t not greater than necessary, to c o r n p l ~with
the statutory purposes of sentencing.


         T h e defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for
a total rer rn of SEVENTY (70) MOIWEE as to Count One of the Indictment.




 X The c o w makes h e followmg recommendmoosto the Bureau of Prisons: The defendant shall be placed at FCI Coleman (FLI.
if possible.



X T b e defendant is remanded to the custody of the United States M d .
- 'IheMendant shall slmendet to h e United States M d a l for this d i h c t -
          -at-    &mJp.M on ,
          -  as not5ed by fbe United States Marshal.
,
The defmdmt shall surrender €br savice ofsentence at the institution designated by the Bureau of Prisons

          -Wore 2 p.m. on -.
          -as notified by the United Stam Marshal.
          -as notifid by the Pmb-MIor Pm'al Sewices Ofljce




          I have executed this judgment as follows:




          Defendant delivered on                                           to
- at                                                                :   with a certified copy of this judgment.


                                                                                 United States Marshal

                                                                     By:
                                                                                         Depuly United Stares Marshal
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A 0 2458 (Rev. 06105) Sheet 3 - Supwised Release (Judgment In a Cnmtnal Case)

Defendant:        ALCY REINA COLORADO                                                                             ludgment - Page 3of 6
Case No.;          8:08-cr-12-T-30MSS
                                                          SUPERVISED RELEASE
        Upon release from imprisonment, the defendant shan be on supervised release for a term of FIVE (5) YEARS as to Count
One of the Indictment.

         The defendantmust report to the probation oEce in the district to which the defendant is released within 72 hours of release fiom
the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime. The defendant shall not unlawfully possess a controlled substance.
The defendant shall re-    from any unlawful use of a controlled substance. The defendant shall submit to one drug test within 15 days
of release from impr;somnent and at least two periodic drug tests thereafter. as determined by the court.
         The defendant shall not possess a firearm, destructwe devrce, or any other dangerous weapon.
         The defendant shall cooperate in the collection of DNA as directed by the probation o flicer.

          Iftbis judgment imposes afheor restitution it isa conditionofsupervised release h a ( Lhc dciendant pay m accordan~e\\101 h e
          Schedule of Paymentssheet of thisjudgment
          The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
          conditions on the attached page.
                                            STANDARD CONDlTlONS O F SUPERVISION
          the defeudant shall no1 Icave rhe judicial district without the permission of the court or probation i\l'ficcr:

          the defaidant shall report to the p&on       offica and shdl sabrnit a truthful and complete written report within the first five days of each
          mon&.

          the defendant shall mower truthfully all inquiries by the probation offica and follow the instructions of the probation officer;

          the defendant shall support his or h a dependents and meet other fnmily responsibilities;

          the defendant shall work regularly at a Iawful occupation, unless excused by the probation officer for schooling, training, or other
          acceptable reasons;

          the defendant shall notify the probation officer rtt least ten days p - o r to any change in residence or employment;

          the defendant shall reMn from excessive use of alcohol and shall not purchase, possess, use, distribute. or administer any controlled
          substance or any paraphernalia related to any conmlled substances, except as prescribed by a physician;

          h e dcfi-ndant s1uII no[ frequent places whcrc controlled substances are illegally sold, used. distributed, or administered:

          the defendant shall not associate with any persons engaged m criminal activity and shall not associate with any person convicted of a
          felony. unless granted pamission to do so by the probation officer.

          the defendant shall pcrmit a probation officer to wsit him or her at any time at home or elsewhere and shall permit confiscation of any
          contraband observcd in plain view of the probation officer,

          the defendant shall notily the probation oficer within seventy-two hours o f being arrested or questioned by a law enforcement officer,

          the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
          pennissim of the court: and

          as d i e d by the probation officer. the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal record
          or personal history or chamcteristics and shall permit the probation officer to make such notificarions and to confirm Ihe defendant's
          compliance with such notification requrrequrrement
     Case
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               06/05)Sheet 3C Supervised ReleaseDocument       62 Filed
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Defendant:       ALCY REINA COLORADO                                                                Judgment - Page 4 of (,
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                                      SPEClAL CONDITIONS OF SUPERVLSION

        The defendant shall also comply with the foilowing additional conditions of supervised release:

X
-       Should the defendant be deported, hdshe shall not be allowed to re-enter the United States without the express permission of
        the appropriate governmental authority.

-
X       The defendant shall cooperate in the collection of DNA as directed by the probation officer.
-
X        ThemandatorydrugtestingprovisionsshallapplypursllanttotheViolentCrin~eConrrolAc~.
         testing not to exceed 104 tests per year.
                                                                                        Tl~eCourtord~rsra~~domdrug
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 A 0 2458 (Rev 06105) Shm 5 - Criminal Monetary Penalties (Judgment in a Criminal Case)

 Defendant          ALCY REINA COLORADO                                                               Judgment - Page 5 of h
 Case No.:          8:08-cr-12-T-30MSS

                                           CRIMINAL MONETARY PENALTIES

          T h e defendant must pay the total cmmal monetary penaiues under the schedule of payments on Sheet 6.
                            Assessment                           -
                                                                 Fine                        Total Restitution

          Totals:                                                 Waived


          The deierminatlon of restitution ISd e f d unnl --               An Amended Judgment in a Criminal Case ( A 0 235 C) will
          be e n t d after such determination.
          The defendant must make restitution (including commuoity restitution) to the following payees in the amount listed
          below.
          If the defendant makes a pacia! payment, each payee &dlreceive an approximately proportioned payment, unless
                fied othmme m the pnonty order or percentage pa ent column below. However, pursuant to 18 U.S.C. 8
          ={i),     all non-fsdwl victims must bs prud before the %ted States.


 Name or Pavee                                 T o t a l Loss'             Restitution Ordered                  Prioritv or Percen tarre




                            Totals:

          Restitution amount ordered pursuant to plea agreement $
          The defendant must pay interest on a k e or restitution of more than $2,500, unless the resumion or fine is paid in full
          before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. # 36 l2(f) All o f the payment options on Sheet
          6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C.Ei 3612(g).
          The court determined that the defendant does not have the ability to pay interes~and i t 1s ordered that:
                  the interest requirement is waived for the - h e       - restitution.
                  the interest requirement for the - fine - restitution is moditied a s Tol lows:


* Findings for the total amom oflosses are required under Chapters 109k 110. 110A, and 1 13A of Title 18 for the ofhses committed
on or af€erSeptember 13,1994, but before April 23,1996.
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                             -
A 0 2458 (Rw 06/05} Sheet 6 Schedule of Payments (Judgment in a Criminal Case)
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Defendant:         ALCY REINA COLORADO                                                                  Judgment - Page 6of 6
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                                                   SCHEDULE OF PAYMENTS



Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties are due as follows:

                   Lump sum payment of $ 100.00 due immediately, balance due
                             -not later than     ,or
                             -in accordance -C, - D, - E or -F below; or
                   Payment to begin immediately (may be combined with -C, -D. or -F below); or
                   Payment in equal                 (e.g., weekly, monthly, quarterly) installments of $     over a period
                   of        (e.g., months or years), to commence             days (e.g., 30 or 60 d a y s m e date of this
                   judgment; or
                   Payment                       (e.g., weekly, monthly, quarterly) installments of $
                                      tU0Illhs or -)     to MllUlleIlCe                  (e-g. 30 or 60er-
                                                                                                                           over a period of
                                                                                                                              release from
                   ~mprisonrnentto a term of supervision; or
                   Payment during the term of supervised release will commence within                  (e.g., 30 or 60 days)
                   after release from imprisonment. The court will set the payment plan based on an assessment of the
                   defendant's ability to pay at that time, or
                   Special instructions regarding the payment of criminal monetary penalties:

The defendant shall pay restitutioninthe amount of *****+************to the victims in this matter. While in the custod
of the B-u    of Prisons,the defendant shall either (1) pay at least $25 quarter1 if the defendant has a non-Unicor 'ob or (25
                                                                                          6
pa at least 50% of his monthly eaminss if the defendant has a Unicor job. pon release fiom custody, the de endant is
orxered to begin msldn payments of ***"*********** per month. At any time during the course of ost-release
                                                                                                                                  1
supervision, the victim, tEe government, or the defendant may notify the Court of a material change in the defen ant's ability
to pay, aud the Court may adjust the payment schedule accordingly.
                                                                                                                              B

UnIess the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
 enalties is due during   risonment. All crrminal monetary penalties, except those ayments made through the Federal
                           "F
E m u of Prisonst Inmate inancia1 Responsibility Program,are made to the clerk of e court.         &
The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.
         Joint and Several
         Defendant and &-Defendant Names and Case Numben (including defendant number), Total Amount, Joint and
Several Amount, and corresponding payee, if appropriate:

         The defendant s ha l 1 pay the: cost of prosecution.
         The defendant shall pay the following court cost@):
         The defendant shall rorfeit the defendant's interest in the following property to the United States:
        The Court orders that the defendant forfeit to the United States immediately and voluntarily any and all assets and
property, or portions thereof. subject to forfeiture, which are in the possession or control of the defendant or the defendant's
nominees.
Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal, (5)
fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
